Case 1:09-cr-10315-FDS Document 175 Filed 08/01/11 Page 1 of 11
Case 1:09-cr-10315-FDS Document 175 Filed 08/01/11 Page 2 of 11
Case 1:09-cr-10315-FDS Document 175 Filed 08/01/11 Page 3 of 11
Case 1:09-cr-10315-FDS Document 175 Filed 08/01/11 Page 4 of 11
Case 1:09-cr-10315-FDS Document 175 Filed 08/01/11 Page 5 of 11
Case 1:09-cr-10315-FDS Document 175 Filed 08/01/11 Page 6 of 11
Case 1:09-cr-10315-FDS Document 175 Filed 08/01/11 Page 7 of 11
Case 1:09-cr-10315-FDS Document 175 Filed 08/01/11 Page 8 of 11
Case 1:09-cr-10315-FDS Document 175 Filed 08/01/11 Page 9 of 11
Case 1:09-cr-10315-FDS Document 175 Filed 08/01/11 Page 10 of 11
Case 1:09-cr-10315-FDS Document 175 Filed 08/01/11 Page 11 of 11
